                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

 In re
 B. & J. Property Investments, Inc.         Case No. 19-60138-pcm11
                                              Amended

 Debtor(s)                                  NOTICE OF CLAIM OBJECTION

Notice to Claimant. An objection by Debtor B. & J. Property Investments, Inc.
to your claim in this bankruptcy case has been filed and is enclosed with this notice.

Your claim may be reduced, modified, or eliminated. You should read these papers
carefully and discuss them with your attorney, if you have one.

If you do not want the court to eliminate or change your claim, then within 30 days from
the service date below, you or your attorney must do one of the following:

1. Obtain a written withdrawal of the claim objection by the objector. In order to obtain a
   withdrawal, you may need to provide the objector with any documentation supporting
   your claim that was not included when you filed your claim with the court. You should
   send this documentation to the objector at the service address listed at the bottom of
   the claim objection. The written withdrawal of the objection must be filed with the court
   within 30 days of the service date below.

2. Prepare a written response to the objection, explaining your position, and file both the
   written response and a certificate showing a copy of the response has been served
   on the objector at the service address listed at the bottom of the claim objection with
   the clerk at 1050 SW 6th Ave #700, Portland, OR 97204 or 405 E 8th Ave #2600,
   Eugene, OR 97401. If you mail your response to the court for filing, you must mail it
   early enough so that the court will receive it within 30 days of the service date below.

If you or your attorney do not take one of these steps within 30 days of the service date
below, the court may decide that you do not oppose the objection to your claim and
reduce, modify, or eliminate your claim without further notice or a hearing.
                     3/2/20
I certify that on ___________   (service date) this notice and the objection were served
pursuant to Federal Rule of Bankruptcy Procedure (FRBP) 3007(a)(2) on the claimant,
debtor or debtor in possession, trustee, and, if applicable, the entity filing the proof of
claim under FRBP 3005, and that the names, addresses, and methods used for service
are as follows (attach additional page if necessary):
Karnes Law Offices PC
2701 12th St. SE
Salem, OR 97302



Timothy J. Conway                                /s/ Timothy J. Conway
Printed Name                                     Signature



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                          UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF OREGON

 In re
 B. & J. Property Investments, Inc.             Case No. 19-60138-pcm11
                                                  Amended

 Debtor(s)                                      CLAIM OBJECTION

1. The undersigned objects to proof of claim no.     6         (claim) in the amount of
   $ 4,864,951.00   filed on behalf of Loren Hathaway et al (see attachment to claim)
                                                                               (creditor).

2. The undersigned objects to the claim for the following reasons (check all applicable
   reasons):

         Claim duplicates proof of claim no.            filed on behalf of
                                                                                              .

         Claim fails to assert grounds for priority, or grounds asserted are not valid as
         described below in “Other.”

         Claim was not filed on behalf of the real party in interest.

         Claim appears to include interest or charges accrued after the petition date.

         Value of collateral exceeds debt.

         Claim arrearage asserted is incorrect.

         Claim is a secured claim, but creditor neither (a) specified that any portion of claim
         should be treated as unsecured nor (b) requested a hearing to determine value of
         collateral.

         Claim includes taxes assessed against real or personal property, but the interest of
         the estate in the property against which taxes were assessed has no value because
         estate has no equity or interest in the property.

         Claim does not include documentation required by Federal Rule of Bankruptcy
         Procedure 3001(c) and (d) (for example, a copy of the note or documents
         establishing secured status or an assignment of the claim to creditor), and another
         reason for disallowance is stated in this objection.




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        Claim does not require future distribution because (state reason, for example,
        creditor obtained relief from stay or has been paid in full from another source):

                                                                                              .

        Other:
        1. Claim was filed as a class claim. No class has been approved in this case.
        2. No amount is properly due or owing; state court judgment is on appeal.
        3. Claim, if allowed, would be unsecured. Preference action will be filed separately.




3. The undersigned moves that the claim be (check applicable boxes):

        Disallowed in full.

        Disallowed for any distribution.

        Disallowed for future distribution greater than the amount already paid
        ($____________).

        Allowed as (fill in each blank even if amount is $0):
           a secured claim for $                           ,
           a priority unsecured claim for $                                , and
           a nonpriority unsecured claim for $                             .

        Allowed with an arrearage of $                   (if amount of arrearage is contested).

The undersigned has complied with LBR 3007-1(b)(2) (requiring pre-filing conferral).

Date:     3/2/20              Signature: /s/ Timothy J. Conway
                              Name: Timothy J. Conway
                              Relation to Case: Attorney for Debtor
                              Service Address: Tonkon Torp LLP,
                              888 SW 5th Ave., Ste. 1600, Portland OR 97204
                              Phone #: 503-802-2027
                              Email Address: timothy.conway@tonkon.com
                              Last 4 digits of Taxpayer ID# (if objector is debtor): -3149




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